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Law Offices Of:
HARRISON & MATSUOKA

WILLIAM A. HARRISON #2948
1001 Bishop Street, Suite 1180
Honolulu, Hawaii 96813
Telephone Number: (808) 523-7041
Facsimile Number: (808) 538-7579
E-Mail: wharrison@hamlaw.net

Attorney for Defendant
WILLIAM WONG

                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA                   )   CR. NO. 21-00041 DKW
                                           )
             Plaintiff,                    )   DEFENDANT WILLIAM WONG’S
                                           )   SUBMISSION OF HIS STATEMENT
      vs.                                  )   TO THE COURT; CERTIFICATE OF
                                           )   SERVICE
CHARLES KIMO BROWN,                        )
                                           )   SENTENCING DATE:
             Defendant.                    )   DATE:   July 27, 2023
                                           )   TIME:   10:30 a.m.
                                           )   JUDGE: Hon. Derrick K. Watson
                                           )

                   DEFENDANT WILLIAM WONG’S
            SUBMISSION OF HIS STATEMENT TO THE COURT

      Defendant WILLIAM WONG, by and through his Attorney, William A.
Harrison, Esq., hereby submits his attached statement to the court:
      DATED: Honolulu, Hawaii, July 24, 2023.

Law Offices Of:
HARRISON & MATSUOKA                              /s/ William A. Harrison
                                               WILLIAM A. HARRISON
                                               Attorney for Defendant
                                               WILLIAM WONG
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                        CERTIFICATE OF SERVICE

      The undersigned hereby certify that, a true and correct copy of the foregoing

was served electronically through CM/ECF on the following at their last known

addresses on July 24, 2023:

      CRAIG S. NOLAN, ESQ.                        craig.nolan@usdoj.gov
      MICHAEL NAMMAR, ESQ.                        Michael.Nammar@usdoj.gov
      Assistant U.S. Attorneys
      300 Ala Moana Boulevard, Room 6-100
      Honolulu, HI 96850

      Attorneys for Plaintiff
      UNITED STATES OF AMERICA

      DEREK KIM                                   derek_kim@hip.uscourts.gov
      Senior U.S. Probation Officer
      United States Probation Office
      300 Ala Moana Boulevard, Room 2-300
      Honolulu, HI 96850

      DATED: Honolulu, Hawaii, July 24, 2023.

Law Offices Of:
HARRISON & MATSUOKA                          /s/ William A. Harrison
                                            WILLIAM A. HARRISON
                                            Attorney for Defendant
                                            WILLIAM WONG




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